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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------- X
                                      :
 UNITED STATES OF AMERICA             :
                                      :                        FINAL ORDER OF
             -v.-                     :                        FORFEITURE
                                      :
 BILLY RIBEIRO ANDERSON,              :                        18 Cr. 596 (LTS)
                                      :
                                      :
                  Defendant.          :
                                      :
                                      :
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               WHEREAS, on or about February 28, 2019, this Court entered a Consent

Preliminary Order of Forfeiture as to Specific Property (the “Preliminary Order of Forfeiture”)

(D.E. 28), which ordered the forfeiture to the United States of all right, title and interest of BILLY

RIBEIRO ANDERSON (the “Defendant”) in the following property seized from the Defendant’s

residence in Torrance, California on or about May 10, 2018:


                       a.      1 black WD Easy Store Portable Hard Drive, Serial Number
                               WXA1A47K3D2Z with Black USB Cable;

                       b.      1 black 500GB Hitachi XL500 storage device;

                       c.      1 stack of CD-Rs and DVDs;

                       d.      1 black Apple laptop Model A1181;

                       e.      1 black and orange Gateway desktop computer FX4710-UB003A;
                               and

                       f.      1 black HP Pavilion Elite desktop computer Model e9220y

   (a. through f. collectively, the “Specific Property”);

               WHEREAS, the Preliminary Order of Forfeiture directed the United States to

publish, for at least thirty (30) consecutive days, notice of the Preliminary Order of Forfeiture,
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notice of the United States= intent to dispose of the Specific Property, and the requirement that any

person asserting a legal interest in the Specific Property must file a petition with the Court in

accordance with the requirements of Title 21, United States Code, Sections 853(n)(2) and (3).

Pursuant to Section 853(n), the United States could, to the extent practicable, provide direct written

notice to any person known to have an alleged interest in the Specific Property and as a substitute

for published notice as to those persons so notified;

               WHEREAS, the provisions of Title 21, United State Code, Section 853(n)(1), Rule

32.2(b)(6) of the Federal Rules of Criminal Procedure, and Rules G(4)(a)(iv)(C) and G(5)(a)(ii) of

the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, require

publication of a notice of forfeiture and of the Government’s intent to dispose of the Specific

Property before the United States can have clear title to the Specific Property;

               WHEREAS, the Notice of Forfeiture and the intent of the United States to dispose

of the Specific Property was posted on an official government internet site (www.forfeiture.gov)

beginning on July 29, 2020, for thirty (30) consecutive days, through August 27, 2020 pursuant to

Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty and Maritime Claims and Asset

Forfeiture Actions and proof of such publication was filed with the Clerk of the Court on May 26.

2023 (D.E. 40);

               WHEREAS, thirty (30) days have expired since final publication of the Notice of

Forfeiture and no petitions or claims to contest the forfeiture of the Specific Property have been

filed;

               WHEREAS, the Defendant is the only person and/or entity known by the

Government to have a potential interest the Specific Property;



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               WHEREAS, pursuant to Title 21, United States Code, Section 853(n)(7), the

United States shall have clear title to any forfeited property if no petitions for a hearing to contest

the forfeiture have been filed within thirty (30) days of final publication of notice of forfeiture as

set forth in Title 21, United States Code, Section 853(n)(2);

               NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

               1.      All right, title and interest in the Specific Property is hereby forfeited and

vested in the United States of America and shall be disposed of according to law.

               2.      Pursuant to Title 21, United States Code, Section 853(n)(7) the United

States of America shall and is hereby deemed to have clear title to the Specific Property.

               3.      The United States Marshals Service (or its designee) shall take possession

of the Specific Property and dispose of the same according to law, in accordance with Title 21,

United States Code, Section 853(h).

Dated: New York, New York
       May_____,
             28 2023

                                                       SO ORDERED:



                                                       ____________________________________
                                                       HONORABLE LAURA TAYLOR SWAIN
                                                       UNITED STATES DISTRICT JUDGE




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